Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 1 of 12




                                               COMPOSITE EXHIBIT "A"
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 2 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 3 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 4 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 5 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 6 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 7 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 8 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 9 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 10 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 11 of 12
Case 9:17-cv-81005-DMM Document 17-1 Entered on FLSD Docket 01/26/2018 Page 12 of 12
